              Case 2:10-bk-50991
                         UNITEDDocSTATES
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                                      DocumentBANKRUPTCY
                                                   Page 1 of 5       COURT
                                         Southern District of Ohio (Columbus)
In re Elizabeth Annette Cameron                                                                     Case No. 10-50991
     Debtor                                                                                         Chapter 13

Notice of Mortgage Payment Change


If you file a claim secured by a security interest in the debtor's principal residence provided for under the debtor's plan
pursuant to § 1322(b)(5), you must use this form to give notice of any changes in the installment payment amount. File this form
as a supplement to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.

 Name of creditor: AMERICAN HOME MORTGAGE                            Court claim no. (if known): 11
                   SERVICING,INC.

 Last four digits of any number you                                  Date of payment change:
 use to identify the debtor's account: 1640                          Must be at least 21 days after date of this notice   09/01/2012
                                                                     New total payment:
                                                                     Principal, Interest, and escrow, if any              $1,086.03

Part 1: Escrow Account Payment Adjustment

   Will there be a change in the debtor's escrow account payment?
       No
       Yes.    Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law.
               Describe the basis for the change. If a statement is not attached, explain why:


                   Current escrow payment:      $180.50                   New escrow payment: $297.20

Part 2: Mortgage Payment Adjustment

   Will the debtor's principal and interest payment change based on an adjustment to the interest rate in the debtor's
   variable-rate note?
       No
       Yes.    Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law.
               If a notice is not attached, explain why:



      Current interest rate:                                         New interest rate:

      Current principal and interest payment:                        New principal and interest payment:

Part 3: Other Payment Change

   Will there be a change in the debtor's mortgage payment for a reason not listed above?
       No
       Yes.    Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan
               modification agreement. (Court approval may be required before the payment change can take effect.)

      Reason for change:

                 Current mortgage payment:                                        New mortgage payment:
                                                                                                                                 Page 2
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Part 4: Sign Here
   The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
   telephone number if different from the notice address listed on the proof of claim to which this Supplement applies.


   Check the appropriate box:
           I am the creditor.          I am the creditor's authorized agent.
                                       (Attach a copy of power of attorney, if any.)

   I declare under penalty of perjury that the information provided in this Notice is true and correct to the best of my
   knowledge, information, and reasonable belief.

           /s/ Diana Duarte                                                      Date 07/31/2012
           Authorized Filing Agent for Filer




  Print:         Diana Duarte                                                    Title   Authorized Filing Agent for Filer



  Company        Homeward Residential, Inc.                                      Specific Contact Information:
  Address        1525 S. Beltline Road                                           Phone: 877-304-3100
                 Coppell, TX 75019




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      Case 2:10-bk-50991             Doc 69 Filed 07/31/12 Entered 07/31/12 23:11:51                            Desc Main
                                       CERTIFICATE OFPage
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                                                          SERVICE

 I hereby certify that on July 31, 2012, I have served a copy of this Notice and all attachments to the following by U.S. Mail,
 postage pre paid and via filing with the US Bankruptcy Court's CM ECF system.



 Debtor:

 Elizabeth Annette Cameron
 5005 Majestic Dr E
 Columbus, OH 43232




 Debtor's Attorney:

 Karen E Hamilton
 31 East Whittier Street
 Columbus, OH 43206




 Trustee:

 Jeffrey P Norman
 Chapter 13 Trustee
 One Columbus
 10 West Broad St Suite 900
 Columbus, OH 43215-3449


                                                            /s/ Bill Taylor
                                                            As Authorized Agent for Filer


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REPRESENTATION OF PRINTED DOCUMENT
            Case 2:10-bk-50991
                             RETURNDoc    69 ONLY
                                      SERVICE     Filed 07/31/12 Entered 07/31/12 23:11:51 Desc Main
 Homewar         .4
                             P.O. Box 619063
                       RESIDENTIAL          Dallas, TX 75261-9063
                                                                      Page 4 ofANNUAL
                             Please do not mail payments to this address
                                                 Document                       5     ESCROW ACCOUNT
                                                                                                              DISCLOSURE STATEMENT

                                                                                                                  CONTACT INFORMATION
                                                                                                               Customer Care Department 1-877-304-3100
                                                                                                               7:00am - 9:00pm CST Monday through Friday
                                                                                                                     7:00am - 4:00pm CST Saturday
            6-764-71313-0000186-001-000-100-000-000                                                                Web site: www.gohomeward.com
                                                                                                    Statement Date:                                                      06/14/2012
            ROBERT D CAMERON                                                                        Payment Due Date:                                                    05/01/2009
            ELIZABETH A CAMERON                                                                     Account Number:
            5005 MAJESTIC DR E
            COLUMBUS OH 43232-4125
                                                                                                                         PAYMENT INFORMATION
                                                                                                   ACCOUNT NUMBER:
                                                                                                   ANALYSIS DATE:                                                        06/13/2012
                                                                                                                              PRESENT PAYMENT                      NEW PAYMENT
                                                                                                                                                                effective 09/01/2012

                                                                                                   Principal & Interest                     $788.83                         $788.83
                                                                                                   Escrow Deposit                            $89.69                         $198.30
                                                                                                   Shortage                                  $90.81                          $98.90
                                                                                                   Optional Insurance                         $0.00                           $0.00
                                                                                                   Other                                      $0.00                           $0.00
                                                                                                   Subsidy                                    $0.00                           $0.00
                                                                                                   Total                                    $969.33                       $1,086.03


                                                         COMING YEAR ESCROW PROJECTIONS
 Under Federal Law, your lowest monthly balance in the next twelve months should not exceed $396.60 or 1/6th of total anticipated payments from the account, unless your
 mortgage contract or State law specifies a lower amount. Your actual lowest monthly balance was -$7,886.45. Your current projected low balance is -$1,591.47. Your required
 low balance is $396.60, creating a shortage of $1,186.85. If you do not remit the difference, your shortage will be prorated for 12 months at $98.90 per month. The items with an
 asterisk in your account history may explain this. For further explanations, please call 877-304-3100 or write to P.O. Box 631730, Irving, TX 75063-1730.


   NEW ESCROW DEPOSIT BREAKDOWN                                                             YOUR ESCROW ACCOUNT PROJECTION
                                                                             PAID IN           PAID OUT                    PROJECTED                                       REQUIRED
  ESCROW ITEM     ANNUAL EXPENSE                            MONTH          TO ESCROW         FROM ESCROW   DESCRIPTION      BALANCE                                         BALANCE
 County Tax Disb                          $1,454.62
                                                                                                              Escrow Account Balance                   -1,591.45                396.62
  Haz Ins Disb                              $925.00         Sep-12              198.30                  .00                                            -1,393.15                594.92
                                                            Oct-12              198.30                  .00                                            -1,194.85                793.22
 TOTAL                                    $2,379.62         Nov-12              198.30                  .00                                              -996.55                991.52
                                                            Dec-12              198.30                  .00                                              -798.25              1,189.82
                                                            Jan-13              198.30              727.31             CNTY TAX (SE                    -1,327.26                660.81
                                                            Feb-13              198.30                  .00                                            -1,128.96                859.11
  ESCROW ITEM                MONTHLY DEPOSIT*               Mar-13              198.30                  .00                                              -930.66              1,057.41
 County Tax Disb                            $121.22         Apr-13              198.30                  .00                                              -732.36              1,255.71
                                                            May-13              198.30                  .00                                              -534.06              1,454.01
  Haz Ins Disb                               $77.08         Jun-13              198.30              727.31             CNTY TAX (SE                    -1,063.07                925.00
                                                            Jul-13              198.30                  .00                                              -864.77              1,123.30
 TOTAL                                      $198.30         Aug-13              198.30              925.00              HAZARD INS.                    -1,591.47                396.60

     The figures in this section are based on a
     division by twelve to get your monthly total
     and may be rounded up or down to the
     nearest penny.




                                                               NOTICE:
                                                               Homeward Residential, Inc. is a debt collector attemptingto collect a debt. Any informationobtained will
                                                              be used for that purpose. However, in the event the debt has been discharged pursuant to or the
                                                              addresseeor recipient is under the protection of federal bankruptcy law, this communication is solelyfor
                                                              informational purposes and is not an attempt to collect a debt. If a bankruptcy proceeding is pending,
art..
LENDER
              SEE REVERSE SIDE FOR
             ADDITIONAL INFORMATION
                                                              please continueto make paymentsin accordance with any bankruptcypayment arrangementor advice of
                                                              counsel.




                                                              ESCROW SHORTAGE COUPON
Homeward              RESIDENTIAL
                                                                                                                LOAN NUMBER:

                                                                                                                Shortage Amount:                                       $1,186.85

   ROBERT D CAMERON                                                                                             The results of the above Escrow Analysis reflect that there is
                                                                                                                a shortage in your escrow account in the amount of
   ELIZABETH A CAMERON                                                                                          $1,186.85. As a convenience to you, we have automatically
                                                                                                                spread this shortage amount over your future payments up to
                                                                                                                 12 months. Should you prefer to pay the shortage in full,
   HOMEWARD RESIDENTIAL, INC.                                                                                   please remit the Total Shortage Amount indicated above with
   PO BOX 660029                                                                                                this payment coupon before next payment due date. Upon
                                                                                                                receipt of the payment and coupon, we will reduce your
   DALLAS, TX 75266-0029                                                                                        monthly payment amount accordingly.


                                                                                                                 Escrow Shortage
                                                                                                                 Amount Enclosed

                                                                                                                Please write your loan number on your check and return this coupon
                                                                                                                with your payment.




                                                                          INTERNET REPRINT
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                                                                    ESCROW       Entered
                                                                             ACCOUNT       07/31/12 23:11:51 Desc Main
                                                                                     HISTORY
Loan Number:                                                                                               Date: 06/13/2012
                                                                  Document     Page 5 of 5
     This statement itemizes your actual escrow account transactions since your previous analysis statement or initial disclosure. The projections from your
     previous escrow analysis are to the left of the actual payments, disbursements and escrow balance. By comparing the actual escrow payments to the previous
     projections listed, you can determine where a difference may have occurred.

     An asterisk (') indicates a difference from the projected activity in either the amount or   date.
     When applicable, the letter -E" beside an amount indicates that a payment or disbursement has not yet occurred but is estimated to occur as shown.

     Your projected low point may or may not have been reached based on one or more of the following factors:

PAYMENT(S)                                                         TAXES                                                      INSURANCE
 Monthly payment(s) received earlier OR later                        Tax rate and/or assessed value changed                     Premium changed
 than expected                                                       Exemption status lost or changed                           Coverage changed
 Monthly payment(s) received were less than OR                       Supplemental/Delinquent tax paid                           Additional premium paid
 greater than expected                                               Tax bill paid earlier OR later than expected               Insurance bill paid earlier OR later than expected
 Previous overage was returned to escrow                             Tax installment not paid                                   Premium was not paid
 Previous shortage not paid in full                                  Tax refund received                                        Premium refund received
                                                                     New tax escrow requirement paid                            New insurance escrow requirement paid
                                                                                                                                Lender placed insurance premium paid
Homeward Residential, Inc. does not recognize property tax deferrals, repayment plans, or third-party property tax lien transfers and will take the necessary action to pay your
property taxes to ensure that our mutually vested interest in your property is not at risk. These programs create a lien on your property that takes precedence over the mortgage
lien in most cases and may result in interest at a high rate owed to the tax collector or a third party, payable over the course of the repayment plan or at the expiration of the
deferral period. If you are having trouble making your loan payments and are considering or participating in one of these programs, please contact Homeward Residential, Inc.
at 1-877-304-3100 so that we may offer you assistance.


                          PAYMENTS TO ESCROW                          DISBURSEMENTS FROM ESCROW                                                      ESCROW BALANCE
MONTH                   PROJECTED       ACTUAL                          PROJECTED      ACTUAL                           DESCRIPTION             PROJECTED       ACTUAL

                                                                                                                    BEGINNING BALANCE              471.12             -6,431.83
09/11                        235.55                                                                                                                706.67             -6,431.83
10/11                        235.55                                                                                                                942.22             -6,431.83
11/11                        235.55                                                                                                               1,177.77            -6,431.83
12/11                        235.55                                                                  727.31         CNTY TAX (SE                  1,413.32            -7,159.14
01/12                        235.55                                          929.81                                 CNTY TAX (SE                   719.06             -7,159.14
02/12                        235.55                                                                                                                 954.61            -7,159.14
03/12                        235.55                                                                                                               1,190.16            -7,159.14
04/12                        235.55                                                                                                               1,425.71            -7,159.14
05/12                        235.55                                                                  727.31         CNTY TAX (SE                  1,661.26            -7,886.45 <
06/12                        235.55            6,859.00   *   E              929.81                            E    CNTY TAX (SE                   967.00             -1,027.45
07/12                        235.55              180.50       E                                                E                                  1,202.55              -846.95


                                                              FREQUENTLY ASKED QUESTIONS
 Homeward Residential, Inc. is providing you with this statement as a detailed analysis of the activity to your escrow account. Deposits into your escrow
account are included in your monthly mortgage payment and those sums are held in reserve for future disbursements for your property taxes and/or
insurance.

Q.      Why do escrow deposits change?                                                              Q.    Is a cushion (excess funds) in an escrow account necessary?

        When changes in your taxes and/or insurance occur or your                                         Yes, Homeward Residential requires a two month escrow cushion
        escrow account is short, your escrow deposit will adjust                                          where permitted by state law, to cover unanticipated increases in
        resulting in a new monthly payment.                                                               the following year's tax and insurance bills.

Q.      How often are escrowed loans analyzed?                                                      Q.    How is a shortage collected?

         Homeward Residentialanalyzes contractuallycurrent escrowed                                       A shortage is collected over a 12 month period.
        loans once every 12 months to determine the appropriate
        monthly escrow deposit. Additional analysis or payment                                      Q.    How can you get additional information on your escrow
        adjustments may be necessary when significant changes in                                          account?
        disbursement amounts of escrowed items occur.
                                                                                                          If you need more information, please contact us at 1-877-304-3100
Q.      What does an analysis reveal?                                                                     or visit our web site atwww.qohomeward.com

        An analysis determines if adjustments need to be made to the
        escrow deposit based on escrow disbursements in an
        upcoming year. If Homeward Residential has disbursed an
        amount higher than anticipated for any escrowed item(s),
        generally a shortage is created and a payment coupon will
        accompany the analysis. If Homeward Residential disbursed an
        amount lower than anticipated for any escrowed item(s),
        generally an overage is created and a check may accompany
        the analysis.
